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    NINTENDO OF AMERICA INC.
 13
 14                        UNITED STATES DISTRICT COURT
 15                      CENTRAL DISTRICT OF CALIFORNIA
 16
 17 NINTENDO OF AMERICA INC., a                Case No.: 2:25-cv-3960-MEMF-E
    Washington corporation,
 18                                            FURTHER JOINT STIPULATION
                Plaintiff,                     TO EXTEND DEFENDANT’S TIME
 19                                            TO RESPOND TO INITIAL
          vs.                                  COMPLAINT BY AN ADDITIONAL
 20                                            30 DAYS FOR GOOD CAUSE
    HUMAN THINGS, INC. d/b/a GENKI,
 21 a Delaware corporation.
                  Defendant.                   Complaint Served: May 13, 2025
 22
                                               Current Response Date: July 3, 2025
 23                                            New Response Date: August 2, 2025
 24
 25        Pursuant to Federal Rule of Civil Procedure 6(b) and Central District of
 26 California Civil Local Rule 8-3, Plaintiff Nintendo of America Inc. and Defendant
 27 Human Things, Inc. (together, the “Parties”), by and through their respective
 28


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  1 representatives, hereby stipulate for a further thirty-day extension of Defendant’s
  2 time to respond to Plaintiff’s Complaint (the “Stipulation”). The Parties stipulate as
  3 follows:
  4        1.     On May 2, 2025, Plaintiff filed the Complaint in the above-captioned
  5 matter. (Dkt. No. 1).
  6        2.     On May 13, 2025, Plaintiff served the Complaint on Defendant,
  7 requiring Defendant to respond to the Complaint on June 3, 2025.
  8        3.     The Parties conferred with one another and agreed to, and pursuant to
  9 Local Rule 8-3 filed, a “Stipulation to Extend Time to Respond to Initial Complaint
 10 By Not More than 30 Days (L.R. 8-3),” based on which Defendant’s deadline to
 11 answer or otherwise respond to the Complaint is currently July 3, 2025.
 12        4.     The Parties need additional time to evaluate and further discuss the
 13 possibility of early settlement and to ascertain whether this action can be resolved
 14 before Defendant responds to the Complaint.
 15        5.     The Parties therefore submit that good cause exists for the Court to grant
 16 this further stipulated thirty-day extension, extending Defendant’s time to respond to
 17 the Complaint to August 2, 2025.
 18        IT IS SO STIPULATED.
 19
 20 Dated: June 27, 2025                       Respectfully submitted,
 21                                            RUTAN & TUCKER, LLP
                                               PIRKEY BARBER PLLC
 22
                                               By: /s/ Sarah Van Buiten
 23                                               Ronald P. Oines
                                                  Sarah Van Buiten
 24                                               Christopher M. Weiner (admitted pro
                                                  hac vice)
 25                                               David E. Armendariz (admitted pro
                                                  hac vice)
 26                                               Taylor Luke (admitted pro hac vice)
                                                  Attorneys for Plaintiff
 27                                               NINTENDO OF AMERICA INC.
 28

                                                     FURTHER STIPULATION TO EXTEND TIME
                                              -2-    TO RESPOND TO INITIAL COMPLAINT
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  1
                                                 BUCHANAN INGERSOLL &
  2                                              ROONEY LLP
  3                                              By:      /s/ Natalie N. Peled
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  8
                                                   Attorneys for Defendant
  9                                                Human Things, Inc.
 10
 11
                                         ATTESTATION
 12
            Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, Sarah Van Buiten, hereby attest
 13
      that all other signatories listed, and on whose behalf the filing is submitted, concur in
 14
      the filing’s content and have authorized the filing.
 15
 16
 17
      Dated: June 27, 2025                            By:     /s/ Sarah Van Buiten
 18                                                          Sarah Van Buiten
 19                                                          Rutan & Tucker, LLP

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                                                        FURTHER STIPULATION TO EXTEND TIME
                                                -3-     TO RESPOND TO INITIAL COMPLAINT
